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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :
                                                                                            11/5/2020
SHAEL CRUZ,                                               :
                                                          :
                                         Plaintiff,       :
                                                          :              20-CV-5143 (VSB)
                           -against-                      :
                                                          :                  ORDER
WILL LEATHER GOODS,                                       :
                                                          :
                                         Defendant. :
                                                          :
--------------------------------------------------------- X

VERNON S. BRODERICK, United States District Judge:

         Plaintiff filed this action on July 6, 2020, (Doc. 1), and an electronic summons was issued

on July 7, 2020, (Doc. 4.) To date, Defendant has not appeared or responded to the complaint.

Plaintiff, however, has taken no action to prosecute this case. Accordingly, if Plaintiff intends to

seek a default judgment, he is directed to do so in accordance with Rule 4(H) of my Individual

Rules and Practices in Civil Cases by no later than November 20, 2020. If Plaintiff fails to do so

or otherwise demonstrate that he intends to prosecute this litigation, I may dismiss this case for

failure to prosecute pursuant to Federal Rule of Civil Procedure 41(b).

SO ORDERED.

Dated:       November 5, 2020
             New York, New York                               ________________________________
                                                              VERNON S. BRODERICK
                                                              United States District Judge
